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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–05–H–DLC–3

                      Plaintiff,
                                                              ORDER
        vs.

 ERIN MARIE BERNHARDT,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 18, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Erin Marie Bernhardt’s guilty

plea after Bernhardt appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to conspiring to possess with the intent

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to distribute, and conspiring to distribute, methamphetamine and Suboxone in

violation of 21 U.S.C. §§ 841(a)(1) and 846 as set forth in Count I of the

Superseding Information. Defendant also entered a plea of guilty to accepting a

bribe as an agent of the State of Montana in violation of 18 U.S.C. § 666(a)(1)(B)

as set forth in Count II of the Superseding Information. In exchange for

Defendant’s pleas, the United States has agreed to dismiss Counts I - V of the

Indictment, and Counts I - V of the Superseding Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

129), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Erin Marie Bernhardt’s motion to

change plea (Doc. 85) is GRANTED and Erin Marie Bernhardt is adjudged guilty

as charged in Counts I and II of the Superseding Information.

      DATED this 6th day of September, 2016.




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